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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                              )
URBAN AIR INITIATIVE, INC.,                   )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )       Civil Action No.: 15-1333 (ABJ)
                                              )
ENVIRONMENTAL PROTECTION                      )
AGENCY,                                       )
                                              )
       Defendant.                             )
                                              )

                             DEFENDANT’S CONSENT MOTION FOR
                                   EXTENSION OF TIME

       Pursuant to Fed. R. Civ. P. 6(b)(1), Defendant respectfully moves the Court for a two-

week extension of time to November 12, 2015, to respond to Plaintiff’s Freedom of Information

Act (FOIA) Complaint. The response is currently due on October 29, 2015. Pursuant to Local

Rule 7(m), the parties conferred and Plaintiff’s counsel consented to Defendant’s requested

extension.

       There is good cause for the Court to grant this enlargement of time request. As explained

to Plaintiff’s counsel, the undersigned is scheduled to participate in a training program at the

National Advocacy Center in South Carolina from October 27 to October 30, 2015. More

importantly, the undersigned needs additional time to become more familiar with the procedural

and factual background of this FOIA case. Furthermore, the undersigned needs to continue to

confer with the agency on the status of its processing of Plaintiff’s FOIA request.




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       For the foregoing reasons, Defendant respectfully requests that the Court extend the

deadline to November 12, 2015, for Defendant to respond to the Complaint.

October 23, 2015.                           Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            D.C. Bar #415793
                                            United States Attorney

                                            DANIEL F. VAN HORN
                                            D.C. BAR # 924092
                                            Chief, Civil Division


                                     By:    ______//s______________
                                            JOHN C. TRUONG
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
URBAN AIR INITIATIVE, INC.,                   )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No.: 15-1333 (ABJ)
                                              )
ENVIRONMENTAL PROTECTION                      )
AGENCY,                                       )
                                              )
       Defendant.                             )
                                              )

                                     [PROPOSED] ORDER


       Upon consideration of Defendant’s Consent Motion For An Extension of Time and the

entire record herein, it is this _____ day of ______, 2015,

       ORDERED that Defendant’s Consent Motion For An Extension of Time be and is

hereby GRANTED; it is

       FURTHER ORDERED that Defendant shall have up to and including November 12,

2015, to respond to Plaintiff’s Complaint.

       SO ORDERED.

                                              ______________________________
                                              United States District Judge




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